     Case 2:07-cr-00248-WBS Document 1399 Filed 06/07/16 Page 1 of 2


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8                            UNITED STATES DISTRICT COURT
9                           EASTERN DISTRICT OF CALIFORNIA
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     LARRY SIXTO AMARO,                        CIV. NO.   2:16-1180 WBS
15                                             CR. NO.    2:07-0248-02 WBS

16                     Petitioner,             ORDER

17           v.

18   UNITED STATES OF AMERICA,

19                     Respondent.

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21                                   ----oo0oo----
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23                  On May 31, 2016, petitioner Larry Sixto Amaro filed a

24   motion pursuant to 28 U.S.C. § 2255.         The United States shall

25   file an opposition to petitioner’s motion no later than July 1,

26   2016.        Petitioner may then file a reply no later than July 20,

27   2016.        The court will then take the motion under submission and

28   will inform the parties if oral argument or further proceedings
                                           1
     Case 2:07-cr-00248-WBS Document 1399 Filed 06/07/16 Page 2 of 2


1    are necessary.

2              IT IS SO ORDERED.

3    Dated:   June 6, 2016

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